           Case 1:11-cv-03606-TCB Document 41 Filed 04/29/13 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



AMY ELIZABETH BARNES,                        )
                                             )
                                             )
       Plaintiff,                            )
                                             )   CIVIL ACTION FILE
v.                                           )
                                             )   NUMBER 1:11-cv-3606-TCB
PUBLIX SUPER MARKETS, INC.,                  )
et al.,                                      )
                                             )
                                             )
       Defendants.                           )



                                       ORDER

       The parties have advised the Court that they have settled this case. In

light of the pending settlement, the Clerk is DIRECTED to administratively

close the case.1 Assuming a final settlement is reached, the parties shall file

a stipulation of dismissal on or before May 29, 2013. In the event that a

final settlement is not reached, either party may move to reopen the case on

or before that date.
       1Administrative closing is a docket-control device used by the Court for statistical
purposes; it does not affect the Court’s jurisdiction over the case or the rights of the
parties. Time will not accrue toward case filing deadlines or statutory limitation periods
relevant to the existing claims while the case is administratively closed.
 Case 1:11-cv-03606-TCB Document 41 Filed 04/29/13 Page 2 of 2




IT IS SO ORDERED this 29th day of April, 2013.




                            Timothy C. Batten, Sr.
                            United States District Judge




                              2
